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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 UNITED STATES OF AMERICA

               V.                            CmMINAL ACTION NO.
                                              1:20-CR-00108-TWT
 GERALD D. DAVIS



                                      ORDER

      On March 19, 2020, Jeffrey Davis, Assistant United States Attorney, notified

the Court that the parties were in plea negotiations and this criminal action could be

resolved without the necessity of a trial. Accordingly,

      IT IS HEREBY ORDERED that the period of time between March 19,2020

and the entry of a guilty plea is excluded from calculation under the Speedy Trial

Act. The Court finds that the ends of justice served by taking such action outweigh

the best interests of the public and the defendant to a speedy trial as allowed in 18

U.S.C.§3161(h)(7).

      IT IS FURTHER ORDERED that counsel contact the Court regarding the

status of the plea negotiations no later than April 17,2020.

      SO ORDERED, this /? day of March, 2020.



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                                             THOMAS W. THRASH, JR.
                                             UNITED STATES DISTRICT JUDGE
